        Case 1:17-cv-02458-TSC             Document 69         Filed 04/22/19        Page 1 of 19



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

    NATIONAL WOMEN’S LAW CENTER, et )
    al.                             )
                                    )
         Plaintiffs,                )
                                    )                     Civil Action No. 17-2458 (TSC)
                  v.                )
                                    )
    OFFICE OF MANAGEMENT AND        )
    BUDGET, et al. 1                )
                                    )
         Defendants.                )



               DEFENDANTS’ WRITTEN SUMMATION IN RESPONSE TO
                      THE COURT’S APRIL 16, 2019 ORDER

        In November 2017, Plaintiffs filed a four-count Complaint challenging the decision of

Defendant Office of Management and Budget (“OMB”) to issue a stay and review of a previously-

approved collection of pay data information (“Component 2 pay data collection”) sought by

Defendant United States Equal Employment Opportunity Commission (“EEOC”). See generally

Compl., ECF No. 1 (Nov. 15, 2017). That Complaint challenged the validity of OMB’s stay decision

under the Paperwork Reduction Act (“the PRA”) and the Administrative Procedure Act (“APA”), see,

e.g., id. ¶¶ 100-18 (Counts One through Four allege that OMB’s stay and review decision is contrary

to OMB’s regulations and § 3518(e) of the PRA, and also is arbitrary and capricious in violation of §

706(2)(A) of the APA). And, the Complaint’s requested relief seeks to remedy the purported harm

derived from OMB’s stay decision by requesting that the Court: (i) declare OMB’s decision unlawful

(Prayer for Relief ¶¶ 1-2), (ii) vacate the challenged decision and set it aside (Prayer for Relief ¶ 3), and



1
 Pursuant to Rule 25(d), Paul Ray, in his official capacity as Acting Administrator of the Office of
Information and Regulatory Affairs (“OIRA”), is substituted for Neomi Rao, in her former official
capacity as Administrator of OIRA.


                                                     1
        Case 1:17-cv-02458-TSC            Document 69          Filed 04/22/19       Page 2 of 19



(iii) reinstate OMB’s prior approval of the Component 2 pay data collection (Prayer for Relief ¶¶ 3,

4). 2

        Importantly, the Complaint did not challenge any aspect of the EEOC’s underlying data

collection nor its planned implementation of the same. The Prayer for Relief did request, as part of

the reinstatement of OMB’s prior approval, that the Court order “EEOC Defendants to publish a

Federal Register Notice announcing this reinstatement or to take equivalent action necessary to

immediately reinstate the pay data collection.” Prayer for Relief ¶ 4. But that final form of relief was

necessary only to restore the EEOC’s underlying decision to its status free from the OMB stay and

did not concern any separate action or authority by EEOC. See id

        The Court’s March 4, 2019 Memorandum Opinion and Order granted summary judgment in

Plaintiffs’ favor and provided Plaintiffs with the relief that they had requested. Specifically, the Court’s

decision and order (i) declares OMB’s decision to stay and review the Component 2 pay data collection

unlawful, (ii) vacates and set aside OMB’s decision, and (iii) reinstates the previously-approved

Component 2 pay data collection. See Mem. Op. at 40-41, ECF No. 45 (Mar. 4, 2019); see also Order

at 1, ECF No. 46 (Mar. 4, 2019). There is not merit to Plaintiffs’ continued assertion that that they

have not received the relief ordered by the Court, and all of the relief to which they are entitled.

Plaintiffs challenged an action by OMB—not the EEOC—and the Court has now vacated that OMB

action in toto, clearing the legal path for the EEOC to proceed with the reinstated collection.

        It is for this reason that Defendants respectfully submit that they have complied with the relief

that this Court ordered on March 4, 2019. Defendants acknowledge that OMB’s stay has been vacated

and that the previously-approved Component 2 pay data collection has been reinstated. Defendants



2
 Plaintiffs’ Prayer for Relief also contains a request for an award of reasonable attorneys’ fees and
costs and “other such relief as the Court may deem just and proper.” Prayer for Relief ¶¶ 5-6.
Defendants’ written summation addresses only the relief requested in paragraphs 1 through 4 of the
Complaint’s Prayer for Relief.
                                                     2
       Case 1:17-cv-02458-TSC            Document 69         Filed 04/22/19       Page 3 of 19



are not continuing to treat the Component 2 pay data collection as stayed or otherwise not in effect,

and, significantly, Plaintiffs have not identified any evidence suggesting otherwise. Plaintiffs’ claims

have thus been vindicated, and they have received all the relief their claims could obtain under § 706(2)

of the Administrative Procedure Act (“APA”), the statutory provision upon which Plaintiffs relied in

bringing this suit.

        Plaintiffs do not argue otherwise but instead object to the manner in which the EEOC has

chosen to implement the reinstated Component 2 pay data collection—that is, the EEOC’s

administrative decision to set separate collection deadlines for the collection and submission of

Component 1 data and Component 2 pay data to provide the agency sufficient time to prepare for the

reinstated pay data collection. But Plaintiffs’ Complaint never challenged any action by the EEOC or

any aspect of its authority. Plaintiffs’ quarrel was with OMB’s stay. Consistent with that challenge,

this Court’s Order focused solely on remedying the purported harm derived from OMB’s stay and did

not purport to circumscribe the EEOC’s exercise of its independent statutory authority in

implementing its now-un-stayed Component 2 pay data collection. There have been a basis for the

Court to curtail the EEOC’s independent statutory authority, as Plaintiffs never challenged that

authority or the EEOC’s use of it. To the contrary, Plaintiffs included EEOC as a party only for

purposes of effectuating any relief in the case. Complaint ¶ 13.

        As explained in detail below, pursuant to its independent Title VII authority, the EEOC has

taken reasonable and timely steps to respond to the March 4 Opinion and Order in a manner that is

consistent not only with that ruling but also with the on-the-ground reality of the EEOC’s data and

analytics capabilities. The EEOC has proposed to utilize its Title VII administrative authority to

collect 2018 pay data from employers between July 15, 2019, and September 30, 2019. The EEOC’s

proposal takes into consideration and appropriately mitigates the practical challenges presented by the

reinstatement of the collection, described in both the declaration and testimony of the agency’s Chief


                                                   3
       Case 1:17-cv-02458-TSC            Document 69         Filed 04/22/19       Page 4 of 19



Data Officer, Samuel C. Haffer, Ph.D, including (1) the data validity and reliability concerns to which

Dr. Haffer testified, and (2) the fact that this is the first time the data will be collected. The EEOC’s

proposal to exercise its Title VII authority in this in a manner is both responsive and considered.

         In a last ditch effort to convince this Court to order more relief than they are entitled to,

Plaintiffs urge the Court to invoke its equitable authority with respect to its March 4 Opinion and

Order. But Plaintiffs’ attempt to end run the relief to which they are entitled under § 706(2) by

invoking principles of equity for additional relief runs directly into the EEOC’s separate and distinct

authority to administer its collection in a manner that the agency has determined is reasonable under

these particular circumstances. As this Court has previously observed, equitable authority exists to

remediate the specific legal harms that a plaintiff advances and a court identifies. Here, the only such

purported harm that Plaintiffs advance is OMB’s decision to stay the Component 2 pay data collection.

There is no doubt that the Court has broad authority to ensure that the stay is (and remains) completely

inoperative. But the Court should decline Plaintiffs’ invitation to invoke its broad equitable authority

to enjoin aspects of the EEOC’s independent implementation of the Component 2 data-collection

pursuant to EEOC’s independent statutory authority—something Plaintiffs never challenged and as

to which the Court has not found any legal error.

                                            ARGUMENT

I.      Defendants Have Not Violated The Court’s March 4, 2019 Memorandum and Opinion.

        Plaintiffs’ suit concerns OMB’s exercise of its authority under the PRA and alleges that OMB’s

decision to stay and review the Component 2 pay data collection is unlawful. See generally Compl. ¶¶

100-18. Put another way, the identified controversy is the extent of OMB’s authority in that respect,

and the reasonableness of the agency’s decision. See id. That Plaintiffs include the EEOC as a

defendant, alleging that the agency is a “necessary party for relief,” see id. ¶ 13, does not change the

fundamental nature of the suit: it is to ensure that the federal government, including the EEOC,


                                                    4
       Case 1:17-cv-02458-TSC             Document 69         Filed 04/22/19       Page 5 of 19



ceased to give effect to OMB’s stay and thus resumed giving effect to EEOC’s previously approved

collection of Component 2 pay data.

        Indeed, that is exactly what Plaintiffs requested and received: they asked this Court to vacate

OMB’s decision to stay and review the Component 2 pay data collection under § 706(2) of the APA,

and the Court granted that relief. See, e.g., Envt’l Def. v. Leavitt, 329 F. Supp. 3d 55, 64 (D.D.C. 2004)

(“When a Court vacates an agency’s rule, the vacatur restores the status quo before the invalid rule

took effect. . . .”) (citing Indep. U.S. Tanker Owners v. Dole, 809 F.2d 847, 854 (D.C. Cir. 1987)).

Specifically, the Court vacated OMB’s stay decision, set it aside, and reinstated the previously-

approved Component 2 pay data collection.

        Moreover, the relief that this Court awarded is consistent with the proposed order that

accompanies Plaintiffs’ summary judgment motion. To that point, Plaintiffs’ proposed order provided

that OMB’s review and stay of the Component 2 pay data collection, and the Federal Register notice

announcing the same, should be vacated so that the previous approval of the revised EEO-1 form

shall be in effect. See Text of Pls.’ Proposed Order, ECF No. 22-5. The Court granted relief consistent

with Plaintiffs’ request, see Order, ECF No. 46 (Mar. 4, 2019), and Plaintiffs have obtained the relief

sought—OMB’s stay is no longer in effect. Defendants, moreover, have fully complied with that

relief – there is no evidence that either OMB or EEOC is treating OMB’s stay as still in effect or that

either agency is denying the existence of Component 2’s reinstatement.

        Notwithstanding these facts, Plaintiffs now seek additional relief to require the EEOC to take

specified actions to collect the Component 2 pay data under the revised EEO-1 form. In addition to

the practical problems with this request (see infra at II.A-B), there is a fundamental legal problem at the

threshold:   Plaintiffs’ Complaint challenged only OMB’s legal authority to issue a stay under the

Paperwork Reduction Act and its implementing regulations, and the relief that they sought—namely,

that the Court vacate OMB’s stay decision, set aside the unlawful decision, and reinstate the


                                                    5
       Case 1:17-cv-02458-TSC             Document 69          Filed 04/22/19       Page 6 of 19



previously-approved Component 2 pay data collection—remedies the harm derived from OMB’s stay

decision. Perhaps most importantly, this Court’s March 4 Opinion and Order remedies the specific

harm that Plaintiffs claimed as a result of OMB’s stay.

        Under settled principles of administrative law, when a court reviewing agency action

determines that an agency made an error of law, the court’s inquiry is at an end: the case must be

remanded to the agency for further action consistent with the corrected legal standards.” PPG Indus.,

Inc. v. United States, 52 F.3d 363, 365 (D.C. Cir. 1995). Thus, in PPG Industries, the D.C. Circuit reversed

the district court order that prohibited an agency from reopening its proceedings using new evidence.

The D.C. Circuit reasoned that the decision of whether or how to proceed on remand “is an issue to

be decided first by the Secretary—and to be brought to the district court, if at all, only on review under

the APA.” Id. at 366. This reasoning applies equally here: Any challenge to the EEOC’s actions in

response to this Court’s order setting aside OMB’s stay would be subject to review, if at all, only under

the APA, and not in follow-on proceedings in this litigation.

        That is because any challenge to the EEOC’s actions with respect to the reinstatement of the

Component 2 pay data collection present fundamentally different legal questions than were litigated

and resolved in this Court’s March 4, 2019 Opinion and Order—the focus which involved the validity

of OMB’s actions under the PRA and its implementing regulations. Thus, for example, had OMB

had never stayed the Component 2 pay data collection in the first place, the EEOC would have had

authority under Title VII to adjust the reporting deadlines, which further underscores why any

challenge to the EEOC’s exercise of its Title VII administrative is a separate and distinct legal issue

from that presented in the March 4, 2019 Opinion and Order that vacated and set aside OMB’s actions

under the PRA. If Plaintiffs now object to how the EEOC is implementing the Component 2 pay

data collection now that it has been reinstated, they must bring a new claim that identifies a legal basis

for reviewing and setting aside the EEOC’s actions.


                                                     6
       Case 1:17-cv-02458-TSC            Document 69         Filed 04/22/19          Page 7 of 19



        Nor may Plaintiffs avoid this conclusion by invoking equitable relief principles. While the

“courts have inherent power to enforce their prior orders,” Almaqrami v. Tillerson, 304 F. Supp. 3d 1,

6 (D.D.C. 2018) (Chutkan, J.), that power is, by definition, limited to the enforcement of the relevant

order. See, e.g., United States v. Latney’s Funeral Home, Inc., 41 F. Supp. 3d 24, 29 (D.D.C. 2014). Such

orders must “arise[] from and resolve[] a dispute within the court’s subject-matter jurisdiction.”

Salazar by Salazar v. District of Columbia, 896 F.3d 489, 491 (D.C. Cir. 2018) (alterations and internal

quotation marks omitted). The exercise of the Court’s equitable powers is appropriate when “(1) there

was a clear and unambiguous court order in place; (2) that order required certain conduct by

Defendants; and (3) Defendants failed to comply with that order.” Latney’s Funeral Home, 41 F. Supp.

3d at 29. Under those circumstances, a court may exercise its equitable power to require an agency

“to fulfill its obligations under a prior order.” Almaqrami, 304 F. Supp. 3d at 6.

        Plaintiffs have not shown that these three conditions are satisfied here. As previously noted,

the March 4, 2019 Opinion and Order concerns the validity of OMB’s actions under the PRA, not

those of the EEOC under its Title VI authority. In addition, the Court’s order vacating OMB’s

decision to stay and review the Component 2 data collection and reinstating the previously-approved

collection has been fully effectuated. Consistent with the reinstatement of the revised EEO-1form,

the EEOC retains its congressionally delegated authority to administer the data collection, including

by adjusting the dates on which data must be submitted as appropriate to meet the needs of the agency

and the regulated community. As previously discussed, this authority is established by statute, 42

U.S.C. § 2000e-4(a), and has not been called into question in this case.

        The cases on which Plaintiffs relied during the April 16 hearing do not compel a different

conclusion, and do not support the entry of an order directing the EEOC to take specified actions to

administer its data collection in these circumstances. For example, Mendoza v. Perez, 72 F. Supp. 3d

168 (D.D.C. 2014), concerned a challenge to the Department of Labor’s (“DOL”) issuance of Training


                                                   7
       Case 1:17-cv-02458-TSC             Document 69         Filed 04/22/19       Page 8 of 19



and Employment Guidance Letters (“TEGL”) without going through notice-and-comment

rulemaking. The court held that notice-and-comment procedures were required, and it remanded to

the agency for further proceedings. The plaintiffs in that case alleged that DOL was not taking

measures to promulgate the new TEGLs with appropriate speed, and the court conducted further

proceedings to determine what further measures were necessary to enforce its relief with respect to DOL.

        But the relief ordered with respect to DOL in Mendoza is in direct contrast to facts in this case

where the underlying challenge involves the validity of OMB’s actions, not the EEOC. Indeed, the

question of the court’s equitable authority was not squarely at issue in Mendoza, as the government

chose not to challenge the form of remedial relief requested in that case. 72 F. Supp. 3d at 171.

Rather, the only dispute was as to the schedule the court should order, and the court adopted the

schedule proposed by the government. Id.

        Plaintiffs’ reliance on National Venture Capital Ass’n v. Duke, No. 17-1912 (D.D.C.), likewise

involved an action to enforce the precise relief ordered by the court, with respect to the same agency

against which it was initially ordered. In that case, plaintiff alleged that the Department of Homeland

Security (“DHS”) was delaying its implementation of the International Entrepreneur Rule. The court

had previously held that DHS was required to implement the rule unless it withdrew it pursuant to

notice-and-comment rulemaking. Plaintiffs alleged that DHS was not acting in good faith to

implement the rule and sought discovery with respect to DHS’s actions in that respect. Again, the

factual predicate underlying the relief awarded by the court in National Venture Capital Ass’n is entirely

distinct from the facts underlying Plaintiffs’ request for additional relief here—namely, that on top of

the relief that Plaintiffs have already obtained as a result of the Court’s decision vacating OMB’s stay

and reinstating the Component 2 collection, the Court should further direct the EEOC take specific

actions to implement the Component 2 pay data collection in the manner that Plaintiffs prefer.

Neither § 706(2) or principles of equitable relief require such a result.


                                                    8
       Case 1:17-cv-02458-TSC             Document 69         Filed 04/22/19       Page 9 of 19



        Finally, Plaintiffs’ reliance on 29 C.F.R. § 1602.7 to bolster their assertion that “the EEO and

data collection is required to be performed annually by regulation,” and is “not an entirely discretionary

data collection,” see April 16, 2019 Hrg. Tr. at 86, lines 20-25, at 87, lines 1-7, misses the mark. By its

plain text, the regulation imposes requirements on employers, not on the EEOC. (“On or before

September 30 of each year, every employer that is subject to title VII of the Civil Rights Act of 1964,

as amended, and that has 100 or more employees shall file with the Commission or its delegate

executed copies of Standard Form 100, as revised (otherwise known as “Employer Information

Report EEO-1”) in conformity with the directions set forth in the form and accompanying

instructions.” (emphasis added)). It does not direct the EEOC to take any action whatsoever with

respect to the collection or possible publication of information, and it can in no way be construed to

undermine the Acting Chair’s established discretion in this respect. In any event, the question whether

there are constraints on the Acting Chair’s authority is a question for separate proceedings. As already

noted, this case has never concerned the lawfulness of the EEOC’s actions nor the extent of its

authority with respect to the collection of this information, and this Court’s Order certainly did not

adjudicate a dispute between the parties as to whether the EEOC has authority to modify the reporting

deadlines in the manner that it has proposed.

II.     The EEOC’s Proposal to Collect 2018 Component 2 Pay Data From Employers
        Between July 15, 2019, and September 30, 2019, Is A Considered and Responsive
        Response.

        A. Since mid-2017, the EEOC has been taking critical steps to modernize its data
           collection processes and systems.

         The EEOC hired Dr. Haffer in November 2017 and completed the hiring of other staff, such

as statisticians and data scientists, with expertise in data collection and analytics in December 2018.

See Haffer Decl. ¶¶ 7, 14-15. The Declaration and April 16 hearing testimony of Dr. Haffer, the

EEOC’s Chief Data Officer, delineate the bases for his opinion that, as a result of the preliminary

assessment and evaluation he conducted after coming on board, the EEOC’s existing data collection

                                                    9
       Case 1:17-cv-02458-TSC              Document 69          Filed 04/22/19        Page 10 of 19



processes and systems were deficient in many respects and required modernization. 3 See Haffer Decl.

¶¶ 8-13 (explaining the agency’s practice of delaying the closing of Component 1 data collections due

to, inter alia, insufficient testing prior to the opening of the collection date); see also April 16, 2019 Hrg.

Tr. 35, lines 12-19. On Dr. Haffer’s recommendation, the EEOC created a Data and Analytics

Modernization Program, “a comprehensive evaluation of the collection, analysis, and dissemination

of EEOC data,” and procured the services of the research organization NORC at the University of

Chicago, to implement the Modernization Program under a multi-year contract. Id. ¶¶ 16-18. During

the time between the issuance of OMB’s stay decision and the filing of this lawsuit, the EEOC

undertook “[f]our major activities” focused on assessing the agency’s data collection activity and

“standing up” the agency’s newly created Modernization Program. April 16, 2019 Hrg. Tr. at 37, lines

7-25, at 38, lines1-5. However, as Dr. Haffer explained, “u]ntil th[e] modernization is completed . . .

the EEOC must continue using its current [data collection processes and systems] . . . with as many

improvements put into place by [EEOC] staff.” Haffer Decl. ¶ 19.

        B. The EEOC took swift action upon learning that the Court’s March 4 decision
           reinstated the prior approval of the Component 2 pay data collection.

        In the days immediately following this Court’s March 4 decision and order reinstating OMB’s

prior approval of the Component 2 pay data collection, the EEOC published a notice on its website

informing employers that it was “working diligently on next steps in the wake of” 4 this Court’s decision


3
  Many of the deficiencies that Dr. Haffer identified in his written and oral testimony are confirmed
by the findings and recommendations in a 2018 Final Report by the EEOC’s Office of Inspector
General (“OIG”), which conducted an investigation of the agency’s reporting and data analytics
between November 2017 and February 2018. See, e.g., Evaluation of the EEOC’s Data Analytics
Activities Final Report, OIG Report Number 2017-02-EOIG at 2 (finding that the “EEOC lacks key,
foundational components of infrastructure to support both reporting and data analytics initiatives”),
available at https://oig.eeoc.gov/reports/audit/2017-002-eoig.
4
  During the April 16 hearing, the Court raised concerns about whether the undersigned misled or
withheld timely information from Plaintiffs in connection with the undersigned’s request for an
extension of time to file Defendants’ summary judgment brief in early December 2018. The
undersigned submits the attached Declaration and accompanying exhibits to explain the


                                                      10
      Case 1:17-cv-02458-TSC              Document 69         Filed 04/22/19       Page 11 of 19



reinstating the Component 2 pay data. 5 See https://www.eeoc.gov/employers/eeo1survey/statement-2018-

opening.cfm. Given the identified deficiencies in its existing data collection processes and systems, the

EEOC also promptly “began to assess timelines and costs” to determine how best to respond to the

reinstatement of the Component 2 pay data collection. April 16, 2019 Hrg. Tr. at 30, lines 12-13

(testimony of Dr. Haffer). On March 5 or March 6, the EEOC reached out to two contractors, the

“small business” contractor “currently doing [the agency’s] Component 1 data collection” (i.e., Sage)

and a second contractor, “NORC at the University of Chicago,” an “expert[] in data collection” and

currently under contract for some of the EEOC’s “modernization work,” to determine “how fast [the

contractors] . . . could open th[e] [Component 2 pay data] collection.” Id. at 30, lines 14-17, 22-25; see

also id. at 40, lines 10-12 (referencing the “outreach to the contractors to ascertain budget and a timeline

and to talk through any significant issues”). Based on the responses provided by both contractors,

the EEOC quickly concluded that NORC was best positioned to provide the data collection processes




circumstances surrounding the failure to provide the EEOC’s initial January 2021 estimate in early
December or in the days that followed the Court’s March 4, 2019 Opinion and Order. As set forth
in detail in the attached Declaration, the undersigned apologizes this failure and regrets to the extent
that the failure to communicate this information about the EEOC’s initial estimate of when the
Component 2 pay data collection could begin has raised concern on the Court’s or Plaintiffs’ part
regarding the good faith of Defendants and their counsel in the conduct of this litigation. The
undersigned has also attached as an exhibit to her Declaration the December 3 to December 4, 2018
email chain between the undersigned and agency counsel as ordered by this Court during the April
16 hearing.
5
  Prior to this Court’s March 4 decision and order, the Component 2 pay data collection was subject
to OMB’s decision to stay and review the collection. As Dr. Haffer explained, as a result of OMB’s
August 2017 decision to stay and review the Component 2 pay data collection, the EEOC deactivated
links to a webinar, presentation slides, and other written information related to challenged collection
to comply with the requirements of the PRA, which do not permit an agency to conduct or sponsor
a collection that is not “approved.” See [OMB add cite]; see also April 16, 2019 Hrg. Tr. at 33, lines 10-
14, 20-25, at 34, lines 1 (Dr. Haffer explaining that “we are not able to do anything that would
demonstrate that we are asking for data to be collected” and further explaining that “legally we couldn’t
keep the link live” during the stay). Shortly after the Court vacated the stay, the EEOC published a
notice on its website to inform employers that it was considering “next steps” related to the challenged
collection.
                                                    11
       Case 1:17-cv-02458-TSC               Document 69        Filed 04/22/19        Page 12 of 19



and systems necessary to collect Component 2 pay data “by September 30th.” Id. at 30, lines 22-25;

see also id. at 31, lines 1-6.

         EEOC personnel also began “to draft a statement of work to quickly procure the services of

the contractor,” NORC, see id. at 40, lines 12-13, including “explor[ing] the regulations that would

allow [the EEOC] to sole source [the collection of Component 2 pay data] . . . because of urgent and

compelling necessity.” Id. lines 14-16. As Dr. Haffer’s testimony makes clear, since the Court issued

its March 4 decision and order reinstating the Component 2 pay data collection, the EEOC has worked

swiftly and diligently “to make sure” that it “basically ha[s] done all of the background work . . . that

will allow [the agency] . . . to meet the September 30th deadline.” Id. lines 17-20; see also id. at 43, lines

9-10 (Dr. Haffer’s testimony that he “reached out” to both contractors “on either March the 5th or

March the 6th).

         In short, NORC is prepared to conduct the collection of the Component 2 pay data on behalf

of the EEOC, including providing “a technical assistance telephone line and email box” and “to handle

the calls once the calls and emails start coming” from employers, as soon as the EEOC “ha[s] the

contract [with NORC] in place,” including the terms governing the deadlines with which the

contractor must comply to conduct the collection of Component 2 pay data on the EEOC’s behalf.

Id. at 41, lines 11-16; see also id. at 42, lines10-12 (“[W]e can’t ask the contractor to begin work on the

contract until the contact’s in place.”).

         Accordingly, to ensure that NORC is able to conduct the collection of pay data under the

compressed time frame and terms of the collection that the EEOC has proposed, the EEOC must

award the contract no later than May 1, 2019. However, as Dr. Haffer testified, the EEOC has not

yet entered into a contract with NORC to conduct the Component 2 pay data collection because the

agency is “still working through the details.” Id. at 42, lines 10-12; id. at 43, lines 2-3. Those details

include whether NORC will collect one year of pay data from employers as the EEOC has proposed,


                                                     12
       Case 1:17-cv-02458-TSC             Document 69          Filed 04/22/19       Page 13 of 19



see id at 53, lines 4-25; see also id. at 56, lines 1-25, whether NORC will be required to collect two years’

of data, see, e.g., id. at 52, lines 21-25 (“The Court: All right. Why, specifically, could requiring the

2017 pay data, along with the 2018 data, decrease response rate and increase errors in the entire data

collection process?”), and whether NORC conducts the collection between now and September 30,

2019, as the EEOC has proposed, or some other time frame, see also id. at 55, line 1-19 (inquiring

whether it would be feasible to collect 2018 and 2019 pay data “[i]f OMB used its emergency action

power to allow Component 2 data collection to be completed after September 30, 2019”). Under

these circumstances, the EEOC has reasonably determined that it is prudent to do “all of the

background work” to prepare for the reinstated Component 2 pay data collection until it is certain

that the agency may move forward pursuant to the terms it has proposed and previously agreed to

with NORC. Id. at 40, lines17-18. As previously mentioned, the EEOC ’s Chief Financial Officer is

prepared to move forward with the agency’s contract with NORC once the scope of the collection is

determined. See id. at 42, lines 10-12, 21-23; id. at 43, lines 2-3.

        C. The EEOC’s proposal to collect 2018 pay data between July 15, 2019, and the
           September 30, 2019 expiration of the revised EEO-1 approval period is reasonable.

        As explained in detail in Defendants’ April 3 filing, “[b]ut for OMB’s decision to stay the

collection of Component 2 pay data, employers would have gathered 2017 Component 2 pay data

during a pay period of their choice between October 1, 2017, and December 31, 2017, and submitted

that data to the EEOC on or before March 31, 2018. Employers also would have collected 2018

Component 2 data during one pay period between October 1, 2018, and December 31, 2018, and

submitted that data to the EEOC on or before March 31, 2019.” Defs.’ Submission in Response to

the Court’s Questions Raised During the March 19, 2019 Status Conference (“Defendants’ April 3

filing”) ¶ 2, ECF No. 54 (Apr. 3, 2019). However, as a result of OMB’s stay decision, the EEOC

could not conduct or sponsor the collection of, and employers had no legal obligation to gather or



                                                     13
      Case 1:17-cv-02458-TSC             Document 69         Filed 04/22/19        Page 14 of 19



submit, Component 2 pay data between August 29, 2017, and March 4, 2019, when this Court vacated

the stay. See April 16, 2019 Hrg. Tr. at 39, lines 14-18.

        The March 4 reinstatement of the Component 2 pay data collection raised several practical

challenges that the EEOC had to resolve in short order: (1) could the agency use its current data

collection processes and systems to collect Component 2 pay data from employers, see April 16, 2019

Hrg. Tr. at 35, lines 12-19; see also Haffer Decl. ¶¶ 9-13, 14, 20-21; (2) given the September 30, 2019

revised EEO-1 approval expiration date, what circumstances would minimize the risk of yielding pay

data with significant validity and reliability issues in light of the expedited time frame in which

employers had to collect and submit Component 2 pay data that they had never before collected or

submitted to the agency, see April 16, 2019 Hrg. Tr. at 53-54; see also Haffer Decl.. ¶¶ 23-27, 29, 32;

and (3) how should the EEOC modify or adjust the missed deadlines for employers to collect and

submit retroactively 2017 and 2018 pay data. See Defs.’ April 3 filing ¶¶ 3-4.

        The EEOC resulting proposal reasonably addresses and/or mitigates the practical challenges

associated with the March 4 reinstatement of the Component 2 pay data collection. See generally Defs.’

April 3 filing ¶¶ 3-8; see also Haffer Decl. ¶¶ 20-26; April 16, 2019 Hrg. Tr. at 30, lines 10-25; at 31,

lines 1-8. As explained in detail in Dr. Haffer’s declaration and April 16 hearing testimony, the EEOC

quickly determined that “modifying its current processes and systems is not a viable option for

collecting Component 2 data from employers,” see Defs.’ April 3 filing ¶ 5, given their deficiencies and

the lengthy amount of time that it would take to “make the necessary updates, enhancements, security

testing,” to cure the same. See Haffer Decl. ¶¶ 9-13, 16-19, 20-21; see also April 16 Hrg. Tr. at 35, lines

12-19 (Dr. Haffer’s testimony explaining “the potential . . . problems in collecting a new source of

data that had never been collected before and the volume of data that were to be collected could

potentially have overwhelmed the [EEOC’s existing] system, and EEOC may not have been prepared

to collect the data”). In the process of determining whether a contract for short-term collection of


                                                    14
       Case 1:17-cv-02458-TSC             Document 69          Filed 04/22/19       Page 15 of 19



the Component 2 data was feasible, the EEOC explored whether it would be possible to utilize

NORC’s data collection processes and services to complete the collection of Component 2 pay data

by May 31, 2019, but concluded that it would not be feasible to so. See April 16, 2019 Hrg. Tr. at 46,

lines 5-19 (Dr. Haffer explains that NORC “said if it was any faster than September 30th [the

contractor] . . . would walk away because it would not meet anything resembling professional standards

for data collection”). Instead, based on the contractor’s assessment of what it can reasonably

accomplish, the EEOC has proposed to procure the data collection services of NORC, which “would

perform the information collection for 2018 EEO-1 Component 2 pay data, including providing the

processes, procedures, and systems to undertake and close the collection by September 30, 2019. . . .”

Defs.’ April 3 filing ¶ 6; see also Haffer Decl. ¶¶ 24-26; April 16, 2019 Hrg. Tr. at 30, lines 22-25, at 31,

lines 1-6. The EEOC would provide “oversight” of NORC’s work, including from July 15, 2019,

through September 30, 2019, during which employers would submit pay data through NORC’s

systems. See April 16, 2019 Hrg. Tr. at 45, lines 23-25; see also Haffer Decl. ¶¶ 24-26; Defs.’ April 3

filing ¶ 6.

         The EEOC’s proposal also reasonably addresses both the data validity and data reliability

concerns implicated by requiring employers retroactively to collect and submit Component 2 pay data

in a compressed amount of time and the missed Component 2 collection and submission deadlines as

a result of OMB’s stay decision. To increase the likelihood that employers collect and submit pay data

that yields valid and reliable data, see Haffer Decl. ¶ 32, the EEOC’s proposal requires employers to

submit only one year of Component 2 pay data, i.e., pay data from one pay period in 2018, during the

July 15, 2019, through September 30, 2019 collection window. See id. ¶¶ 22-26, 32; see also April 16,

2019 Hrg. Tr. at 53-54; Defs.’ April 3 filing ¶¶ 6-8.

         The EEOC’s proposal to limit employers’ obligation to report only 2018 Component 2 pay

data is based on several important considerations, including (i) the dynamic and “transactional” nature


                                                     15
      Case 1:17-cv-02458-TSC             Document 69         Filed 04/22/19        Page 16 of 19



of employers’ payroll systems, see April 16, 2019 Hrg. Tr. at 53, lines 12-15, 18-25; id. at 54, lines 1-5;

(ii) the fact that employers typically archive payroll data “at the end of the calendar year” sometimes

with or without “the documentation that would explain to someone which data are in which fields

and what the definitions of those data [are],” see id. at 54, lines 5-10; and (iii) the fact that this is a

“brand-new data collection for EEOC and for employers” which the agency is “proposing to” collect

“in a very abbreviated period of time.” Id. at 53, lines 4-7.      As Dr. Haffer explained, “by focusing

on an individual year of data instead of trying to do two separate collections at the same time” the

EEOC has “a better likelihood of receiving quality data if [it] just focused people’s attention on one

year instead of multiple years of data.” Id. at 54, lines 20-25.

        Finally, the Acting Chair has determined that it is appropriate to exercise her administrative

authority to adjust the 2018 pay data collection and submission deadlines to July 15, 2019, through

September 30, 2019. This authority derives from Title VII of the Civil Rights Act of 1964, which

authorizes the Acting Chair “to administer the operations of the Commission.” See 42 U.S.C. § 2000e-

4(a); see also Defs.’ April 3 filing ¶ 3 (explaining that in response to the partial government shutdown,

the Acting Chair has previously exercised the agency’s administrative authority to modify and adjust

the original time periods for approved data collections as appropriate for the orderly administration

of the collection). By proposing to adjust the 2018 missed deadlines in this way, the EEOC’s proposal

also comports with the reinstated terms of OMB’s prior approval of the revised EEO-1 collection,

including the September 30, 2019 expiration approval date.

        D. There is no need to toll the expiration of the authorized period for collecting
           Component 2 pay data, and no legal basis for doing so.

         The Court has expressed concern that, if unforeseen issues arise that prevent the collection

of Component 2 data on or before September 30, 2019, the agency will argue that it lacks authority to

collect the information beyond that point, thereby frustrating the collection. The court has asked

whether OMB’s now-vacated stay tolled the approval period for this data collection so as to allow the
                                                    16
      Case 1:17-cv-02458-TSC             Document 69         Filed 04/22/19       Page 17 of 19



collection of information beyond the original September 30 expiration date. There is no legal basis

for concluding that OMB’s stay tolled the expiration the authorized period for the data collection.

And EEOC and OMB have a number of measures available to them in the event that delays prevent

some or all employers from submitting Component 2 data before the authorized collection period

expires.

           The PRA expressly limits OMB’s authority to approve information collections. “The Director

[of OMB] may not approve a collection of information for a period in excess of 3 years.” 44 U.S.C.

§ 3507(g). Nothing in the PRA provides that the approval period is tolled if OMB stays an approved

collection during a period of review. The fact that the stay may later be set aside does nothing to

change that statutory analysis. Nor is there any basis in equity or otherwise for the Court to order

such tolling. The PRA limits OMB’s authority to approve a collection of information for a period of

up to three years, and OMB’s exercise of that authority identifies a date certain for the expiration of

the approval.      We are aware of no authority for the counter-intuitive proposition that OMB can

exceed the scope of its statutory authority to approve information collections from third parties by

violating its own regulations governing stays of such collections. Entering a tolling order would be

particularly inappropriate in these circumstances because tolling is at odds with the agencies’

understanding of the operation of the relevant statutes, is unnecessary to effectuate the collection of

data, and because Plaintiffs in any event have no statutory right to the information, as this Court itself

recognized, see March 4, 2019 Mem. Op. at 12, and thus have no legal basis to seek an order forcing

EEOC and OMB to require additional information collection from third-party employers.

           If problems were to arise in collecting the Component 2 information before September 30,

2019, the EEOC and OMB have means, consistent with the relevant statutes, to facilitate the

collection of Component 2 information that relates to the authorization period. If circumstances arise

whereby the scheduled opening of the Component 2 pay data collection is seriously delayed, the


                                                   17
       Case 1:17-cv-02458-TSC              Document 69        Filed 04/22/19      Page 18 of 19



EEOC could request an emergency extension of the EEO-1 PRA approval from OMB in order to

allow sufficient time to conduct the collection of pay data from 2018.

    III.      The arguments set forth in Defendants’ Motion to Dismiss were made in good

              faith.

           During the course of Plaintiffs’ counsel’s cross-examination of Dr. Haffer, a series of

questions were asked of Dr. Haffer about his awareness of the underlying factual and legal bases of

Defendants’ argument that OMB’s decision to initiate a stay and review of the Component 2 pay data

collection was not final agency action as required to maintain an APA claim under § 706(2). See April

16, 2019 Hrg. Tr. at 63-64 (“Are you aware of whether anyone else at the EEOC took action to

respond to OMB’s directive to submit a new information collection package for review?” “Are you

aware that during the course of this litigation defendants represented to the Court that the action

should not be reviewed because there was an active review within the agencies of whether the

Component 2 data collection should continue?). In response to these questions, Dr. Haffer generally

responded that he was “not aware of that” or “had no knowledge of any of that.” Id. at 63, line 15;

see also id. at 64, line 10.

           Plaintiffs’ insinuations in asking these questions was inappropriate. As is patently clear from

Dr. Haffer’s testimony and declaration, he is not an attorney and, during his employment with the

EEOC, he has been focused on modernizing out-dated and ineffective data systems and processes

rather than on this litigation. Further, these questions are outside the scope of the Court’s April 11,

2019 Order, which required Dr. Haffer’s attendance on behalf of the EEOC because he has

“particularized and thorough knowledge of the issues addressed and questions raised in the parties’

Submissions, ECF Nos. 54, 62, and 63, including all efforts since September 2016 to implement the

Component 2 collection. Order, ECF No. 64 (Apr. 11, 2019). The questions also disregard this

Court’s instruction that it would “give plaintiffs an opportunity to ask very, very limited questions as


                                                     18
      Case 1:17-cv-02458-TSC             Document 69         Filed 04/22/19       Page 19 of 19



follow-up to [the Court’s] . . . questions,” see April 16, 2019 Hrg. Tr. at 27, lines 6-7, and its further

admonition that “this is not a deposition or a trial so those questions would be limited to topics raised

in my questioning and [Dr. Haffer’s] declaration,” id. lines 7-10. Indeed, none of the questions asked

of Dr. Haffer by the Court, nor the statements contained in his declaration raised the factual or legal

bases underlying the legal arguments in Defendants’ Motion to Dismiss.

        The only basis for Plaintiffs to ask these questions of Dr. Haffer is to imply that Defendants

did not make their “no final agency action” argument in good faith. This is unequivocally false, and

the undersigned strenuously objects to the implication. The arguments made in Defendants motion

to dismiss were made in good faith, and Plaintiffs’ counsel’s effort to suggest otherwise by its improper

questioning should be categorically rejected.



Dated: April 22, 2019                           Respectfully submitted,

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                                                   19
